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 1                            UNITED STATES DISTRICT COURT
 2                           FOR THE DISTRICT OF CONNECTICUT
 3                                              (New Haven)
 4   Angela Scipio,                                       Case No.:
 5
                       Plaintiff,
 6
 7          vs.
 8
     Trans Union, LLC,                                    JURY TRIAL DEMAND
 9   a Delaware limited liability company,
10   DSRM National Bank,
     a foreign company,
11   United Consumer Financial Services
12   Company,
     a foreign company,
13   WebBank,
14   a foreign corporation, and
     The United Illuminating Company,
15   a Connecticut company,
16
                       Defendants.
17
18
19                                             COMPLAINT

20         NOW COMES THE PLAINTIFF, ANGELA SCIPIO, BY AND THROUGH
21
     COUNSEL, and for her Complaint against the Defendants, pleads as follows:
22
23                                          JURISDICTION
24      1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
25
        2. This is an action brought by a consumer for violation of the Fair Credit Reporting Act (15
26
           U.S.C. §1681, et seq. [hereinafter “FCRA”]).
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 1                                             VENUE
 2
     3. The transactions and occurrences which give rise to this action occurred in the City of New
 3
        Haven, New Haven County, Connecticut.
 4
 5   4. Venue is proper in the District of Connecticut.
 6
 7
                                              PARTIES
 8
 9   5. Plaintiff is a natural person residing in New Haven, New Haven County, Connecticut.
10   6. The Defendants to this lawsuit are:
11
            a. Trans Union, LLC (“Trans Union”) is a Delaware limited liability company that
12
                conducts business in the state of Connecticut;
13
            b. DSRM National Bank (“DSRM”) is a foreign company that conducts business in the
14
15              state of Connecticut;

16          c. United Consumer Financial Services Company (“United Consumer”) is a foreign
17              company that conducts business in the state of Connecticut;
18
            d. Webbank is a foreign corporation that conducts business in the state of Connecticut;
19
                and
20
21          e. The United Illuminating Company (“United Illuminating”) is a Connecticut company
22              that conducts business in the state of Connecticut.
23                               GENERAL ALLEGATIONS
24
     7. The following furnishers are incorrectly reporting their trade lines (“Errant Trade Lines”) on
25
26      Ms. Scipio’s Trans Union credit file: DSRM; United Consumer; United Illuminating (two trade

27      lines); and Webbank.
28
                                                   2
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 1   8. Each Errant Trade Line fails to report that the account that is the subject of the Errant Trade
 2
        Line was discharged in Plaintiff’s Chapter 7 Bankruptcy.
 3
     9. On or about July 1, 2015, Ms. Scipio received a discharge order from the bankruptcy court.
 4
 5   10.On July 24, 2017, Ms. Scipio obtained her credit files and noticed the Errant Trade Lines
 6      reporting with an incorrect status of account included in bankruptcy.
 7   11.On or about November 2, 2017, Ms. Scipio submitted a letter to Trans Union disputing the
 8
        Errant Trade Lines.
 9
     12.In this dispute letter, Ms. Scipio explained that the accounts were discharged in bankruptcy,
10
11      attached the Order of Discharge and asked the credit bureaus to report the Errant Trade Lines

12      as discharged in bankruptcy.
13   13.Upon information and belief, Trans Union forwarded Ms. Scipio’s consumer dispute to DSRM,
14
        United Consumer, Webbank and United Illuminating.
15
16   14.On or about November 9, 2017, Ms. Scipio received Trans Union’s investigation results which

17      showed that the Errant Trade Lines still did not report the discharges.

18   15.As a direct and proximate cause of the Defendants’ negligent and/or willful failure to comply
19
        with the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq., Plaintiff has suffered credit and
20
        emotional damages. Due to the Defendants’ failure to correct the errors in her credit file,
21
        Plaintiff has been forced to refrain from applying for new credit or more favorable terms on
22
23      existing credit lines. Plaintiff has also experienced undue stress and anxiety due to Defendants’

24      failure to correct the errors in her credit file or improve her financial situation by obtaining
25      new or more favorable credit terms as a result of the Defendants’ violations of the FCRA.
26
27
28
                                                   3
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 1                        COUNT I - NEGLIGENT VIOLATION OF THE
 2                         FAIR CREDIT REPORTING ACT BY DSRM
 3      16. Plaintiff realleges the above paragraphs as if recited verbatim.
 4
        17.After being informed by Trans Union of Ms. Scipio’s consumer dispute of the incorrect status
 5
            on the Errant Trade Line, DSRM negligently failed to conduct a proper investigation of Ms.
 6
 7          Scipio’s dispute as required by 15 USC 1681s-2(b).

 8      18.DSRM negligently failed to review all relevant information available to it and provided by
 9          Trans Union in conducting its reinvestigation as required by 15 USC 1681s-2(b), and failed to
10
            direct Trans Union to remove correct the status on the Errant Trade Line.
11
        19.The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Scipio’s
12
13          consumer credit file with Trans Union to which it is reporting such trade line.

14      20.As a direct and proximate cause of DSRM’s negligent failure to perform its duties under the
15          FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
16
            embarrassment.
17
        21.DSRM is liable to Ms. Scipio by reason of its violations of the FCRA in an amount to be
18
19          determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC 1681o.

20      22.Ms. Scipio has a private right of action to assert claims against DSRM arising under 15 USC
21          1681s-2(b).
22
            WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
23
     Defendant DSRM for damages, costs, interest, and attorneys’ fees.
24
25                        COUNT II - WILLFUL VIOLATION OF THE
                          FAIR CREDIT REPORTING ACT BY DSRM
26
27      23. Plaintiff realleges the above paragraphs as if recited verbatim.
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                                                       4
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 1       24.After being informed by Trans Union that Ms. Scipio disputed the accuracy of the information
 2
             it was providing, DSRM willfully failed to conduct a proper reinvestigation of Ms. Scipio’s
 3
             dispute, and willfully failed to direct Trans Union to correct the status on the Errant Trade
 4
             Line.
 5
 6       25.DSRM willfully failed to review all relevant information available to it and provided by Trans
 7           Union as required by 15 USC 1681s-2(b).
 8
         26.As a direct and proximate cause of DSRM’s willful failure to perform its duties under the
 9
             FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
10
             embarrassment.
11
12       27.DSRM is liable to Ms. Scipio for either statutory damages or actual damages she has sustained
13           by reason of its violations of the FCRA in an amount to be determined by the trier fact, together
14
             with an award of punitive damages in the amount to be determined by the trier of fact, as well
15
             as for reasonable attorneys’ fees and she may recover therefore pursuant to 15 USC 1681n.
16
             WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
17
18 Defendant DSRM for the greater of statutory or actual damages, plus punitive damages, along with
19 costs, interest, and attorneys’ fees.
20                  COUNT III - NEGLIGENT VIOLATION OF THE
21              FAIR CREDIT REPORTING ACT BY UNITED CONSUMER
22
         28. Plaintiff realleges the above paragraphs as if recited verbatim.
23
         29.After being informed by Trans Union of Ms. Scipio’s consumer dispute of the incorrect status
24
             on the Errant Trade Lines, United Consumer negligently failed to conduct a proper
25
26           investigation of Ms. Scipio’s dispute as required by 15 USC 1681s-2(b).

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 1      30.United Consumer negligently failed to review all relevant information available to it and
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            provided by Trans Union in conducting its reinvestigation as required by 15 USC 1681s-2(b),
 3
            and failed to direct Trans Union to remove correct the status on the Errant Trade Line.
 4
 5      31.The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Scipio’s

 6          consumer credit file with Trans Union to which it is reporting such trade line.

 7      32.As a direct and proximate cause of United Consumer’s negligent failure to perform its duties
 8
            under the FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
 9
            embarrassment.
10
11      33.United Consumer is liable to Ms. Scipio by reason of its violations of the FCRA in an amount

12          to be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC

13          1681o.
14
        34.Ms. Scipio has a private right of action to assert claims against United Consumer arising under
15
            15 USC 1681s-2(b).
16
            WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
17
18 Defendant United Consumer for damages, costs, interest, and attorneys’ fees.
19                   COUNT IV - WILLFUL VIOLATION OF THE
20             FAIR CREDIT REPORTING ACT BY UNITED CONSUMER
21      35. Plaintiff realleges the above paragraphs as if recited verbatim.
22
        36.After being informed by Trans Union that Ms. Scipio disputed the accuracy of the information
23
            it was providing, United Consumer willfully failed to conduct a proper reinvestigation of Ms.
24
25          Scipio’s dispute, and willfully failed to direct Trans Union to correct the status on the Errant

26          Trade Line.
27
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 1      37.United Consumer willfully failed to review all relevant information available to it and provided
 2
            by Trans Union as required by 15 USC 1681s-2(b).
 3
        38.As a direct and proximate cause of United Consumer’s willful failure to perform its duties
 4
 5          under the FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and

 6          embarrassment.

 7      39.United Consumer is liable to Ms. Scipio for either statutory damages or actual damages she
 8
            has sustained by reason of its violations of the FCRA in an amount to be determined by the
 9
            trier fact, together with an award of punitive damages in the amount to be determined by the
10
            trier of fact, as well as for reasonable attorneys’ fees and she may recover therefore pursuant
11
12          to 15 USC 1681n.

13          WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
14 Defendant United Consumer for the greater of statutory or actual damages, plus punitive damages,
15
     along with costs, interest, and attorneys’ fees.
16
17                      COUNT V - NEGLIGENT VIOLATION OF THE
18                     FAIR CREDIT REPORTING ACT BY WEBBANK
19      40. Plaintiff realleges the above paragraphs as if recited verbatim.
20
        41.After being informed by Trans Union of Ms. Scipio’s consumer dispute of the incorrect status
21
            on the Errant Trade Line, Webbank negligently failed to conduct a proper investigation of Ms.
22
23          Scipio’s dispute as required by 15 USC 1681s-2(b).

24      42.Webbank negligently failed to review all relevant information available to it and provided by
25
            Trans Union in conducting its reinvestigation as required by 15 USC 1681s-2(b), and failed to
26
            direct Trans Union to remove correct the status on the Errant Trade Line.
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 1     43.The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Scipio’s
 2
          consumer credit file with Trans Union to which it is reporting such trade line.
 3
       44.As a direct and proximate cause of Webbank’s negligent failure to perform its duties under the
 4
 5        FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and

 6        embarrassment.

 7     45.Webbank is liable to Ms. Scipio by reason of its violations of the FCRA in an amount to be
 8
          determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC 1681o.
 9
       46.Ms. Scipio has a private right of action to assert claims against Webbank arising under 15 USC
10
11        1681s-2(b).

12        WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the

13 Defendant Webbank for damages, costs, interest, and attorneys’ fees.
14
                    COUNT VI - WILLFUL VIOLATION OF THE
15                FAIR CREDIT REPORTING ACT BY WEBBANK
16
       47. Plaintiff realleges the above paragraphs as if recited verbatim.
17
       48.After being informed by Trans Union that Ms. Scipio disputed the accuracy of the information
18
19        it was providing, Webbank willfully failed to conduct a proper reinvestigation of Ms. Scipio’s

20        dispute, and willfully failed to direct Trans Union to correct the status on the Errant Trade
21        Line.
22
       49.Webbank willfully failed to review all relevant information available to it and provided by
23
          Trans Union as required by 15 USC 1681s-2(b).
24
25     50.As a direct and proximate cause of Webbank’s willful failure to perform its duties under the
26        FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
27        embarrassment.
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 1       51.Webbank is liable to Ms. Scipio for either statutory damages or actual damages she has
 2
             sustained by reason of its violations of the FCRA in an amount to be determined by the trier
 3
             fact, together with an award of punitive damages in the amount to be determined by the trier
 4
             of fact, as well as for reasonable attorneys’ fees and she may recover therefore pursuant to 15
 5
 6           USC 1681n.

 7           WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
 8 Defendant Webbank for the greater of statutory or actual damages, plus punitive damages, along with
 9
     costs, interest, and attorneys’ fees.
10
                   COUNT VII - NEGLIGENT VIOLATION OF THE
11
             FAIR CREDIT REPORTING ACT BY UNITED ILLUMINATING
12
         52. Plaintiff realleges the above paragraphs as if recited verbatim.
13
14       53.After being informed by Trans Union of Ms. Scipio’s consumer dispute of the incorrect status
15           on the Errant Trade Lines, United Illuminating negligently failed to conduct a proper
16           investigation of Ms. Scipio’s dispute as required by 15 USC 1681s-2(b).
17
         54.United Illuminating negligently failed to review all relevant information available to it and
18
             provided by Trans Union in conducting its reinvestigation as required by 15 USC 1681s-2(b),
19
20           and failed to direct Trans Union to remove correct the status on the Errant Trade Line.

21       55.The Errant Trade Line is inaccurate and creating a misleading impression on Ms. Scipio’s
22
             consumer credit file with Trans Union to which it is reporting such trade line.
23
         56.As a direct and proximate cause of United Illuminating’s negligent failure to perform its duties
24
             under the FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
25
26           embarrassment.

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 1     57.United Illuminating is liable to Ms. Scipio by reason of its violations of the FCRA in an amount
 2
          to be determined by the trier fact together with reasonable attorneys’ fees pursuant to 15 USC
 3
          1681o.
 4
 5     58.Ms. Scipio has a private right of action to assert claims against United Illuminating arising

 6        under 15 USC 1681s-2(b).

 7        WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
 8 Defendant United Illuminating for damages, costs, interest, and attorneys’ fees.
 9
                      COUNT VIII - WILLFUL VIOLATION OF THE
10        FAIR CREDIT REPORTING ACT BY UNITED ILLUMINATING
11    59. Plaintiff realleges the above paragraphs as if recited verbatim.
12     60.After being informed by Trans Union that Ms. Scipio disputed the accuracy of the information
13
          it was providing, United Illuminating willfully failed to conduct a proper reinvestigation of
14
          Ms. Scipio’s dispute, and willfully failed to direct Trans Union to correct the status on the
15
          Errant Trade Line.
16
17     61.United Illuminating willfully failed to review all relevant information available to it and
18        provided by Trans Union as required by 15 USC 1681s-2(b).
19
       62.As a direct and proximate cause of United Illuminating’s willful failure to perform its duties
20
          under the FCRA, Ms. Scipio has suffered damages, mental anguish, suffering, humiliation, and
21
          embarrassment.
22
23     63.United Illuminating is liable to Ms. Scipio for either statutory damages or actual damages she
24        has sustained by reason of its violations of the FCRA in an amount to be determined by the
25
          trier fact, together with an award of punitive damages in the amount to be determined by the
26
          trier of fact, as well as for reasonable attorneys’ fees and she may recover therefore pursuant
27
          to 15 USC 1681n.
28
                                                     10
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 1          WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against the
 2 Defendant United Illuminating for the greater of statutory or actual damages, plus punitive damages,
 3
     along with costs, interest, and attorneys’ fees.
 4
                      COUNT IX - NEGLIGENT VIOLATION OF THE
 5
                     FAIR CREDIT REPORTING ACT BY TRANS UNION
 6
 7      64.Plaintiff realleges the above paragraphs as if recited verbatim.

 8      65.Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and
 9          otherwise reproduced consumer reports regarding Ms. Scipio as that term is defined in 15 USC
10
            1681a.
11
        66.Such reports contained information about Ms. Scipio that was false, misleading, and
12
13          inaccurate.

14      67.Trans Union negligently failed to maintain and/or follow reasonable procedures to assure
15          maximum possible accuracy of the information it reported to one or more third parties
16
            pertaining to Ms. Scipio, in violation of 15 USC 1681e(b).
17
        68. After receiving Ms. Scipio’s consumer dispute to the Errant Trade Lines, Trans Union
18
19          negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.

20      69.As a direct and proximate cause of Trans Union’s negligent failure to perform its duties under
21          the FCRA, Ms. Scipio has suffered actual damages, mental anguish and suffering, humiliation,
22
            and embarrassment.
23
        70.Trans Union is liable to Ms. Scipio by reason of its violation of the FCRA in an amount to be
24
25          determined by the trier fact together with her reasonable attorneys’ fees pursuant to 15 USC

26          1681o.
27
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                                                        11
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 1         WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against Trans
 2 Union for actual damages, costs, interest, and attorneys’ fees.
 3
                        COUNT X - WILLFUL VIOLATION OF THE
 4                FAIR CREDIT REPORTING ACT BY TRANS UNION
 5
      71.Plaintiff realleges the above paragraphs as if recited verbatim.
 6
 7    72.Defendant Trans Union prepared, compiled, issued, assembled, transferred, published, and

 8         otherwise reproduced consumer reports regarding Ms. Scipio as that term is defined in 15 USC

 9         1681a.
10
        73.Such reports contained information about Ms. Scipio that was false, misleading, and
11
           inaccurate.
12
13      74.Trans Union willfully failed to maintain and/or follow reasonable procedures to assure
14         maximum possible accuracy of the information that it reported to one or more third parties
15         pertaining to Ms. Scipio, in violation of 15 USC 1681e(b).
16
        75. After receiving Ms. Scipio’s consumer dispute to the Errant Trade Lines, Trans Union
17
           willfully failed to conduct a reasonable reinvestigation as required by 15 U.S.C. 1681i.
18
19      76.As a direct and proximate cause of Trans Union’s willful failure to perform its duties under the
20         FCRA, Ms. Scipio has suffered actual damages, mental anguish and suffering, humiliation,
21         and embarrassment.
22
        77.Trans Union is liable to Ms. Scipio by reason of its violations of the FCRA in an amount to be
23
           determined by the trier of fact together with her reasonable attorneys’ fees pursuant to 15 USC
24
25         1681n.

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 1           WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment against
 2 Defendant Trans Union for the greater of statutory or actual damages, plus punitive damages along
 3
     with costs, interest, and reasonable attorneys’ fees.
 4
 5
 6
                                              JURY DEMAND
 7
 8          Plaintiff hereby demands a trial by Jury.
 9
10          DATED: December 5, 2017                      By:   /s/   Louis Gentile
11                                                      Louis Gentile
                                                        Attorneys for Plaintiff, Angela Scipio
12                                                      Credit Repair Lawyers of America
13                                                      966 Silas Deane Hwy. Suite B-7
                                                         Wethersfield, CT 06109
14                                                      (203) 417-2539
15                                                      Louis.a.gentile@gmail.com
                                                        Fax (248) 353-4840
16                                                      Toll free (888) 293-2882
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